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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                                        Check if this is an
                                                                        Chapter 13
                                                                                                                                        amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                             12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Jan                                                             Carla
     government-issued picture
                                       First Name                                                      First Name
     identification (for example,
     your driver's license or                                                                          L.
     passport).                        Middle Name                                                     Middle Name

                                       Dobben                                                          Dobben
     Bring your picture                Last Name                                                       Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                                      Suffix (Sr., Jr., II, III)


2.   All other names you                                                                               Carla
     have used in the last 8           First Name                                                      First Name
     years                                                                                             L
                                       Middle Name                                                     Middle Name
     Include your married or
                                                                                                       Pitcock
     maiden names.
                                       Last Name                                                       Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   4        5       6     2           xxx – xx –                   5         6        9         2
     number or federal                 OR                                                              OR
     Individual Taxpayer
     Identification number             9xx – xx –                                                      9xx – xx –
     (ITIN)

4.   Any business names                       I have not used any business names or EINs.                     I have not used any business names or EINs.
     and Employer
     Identification Numbers            Middelkoop Dairy, LLC                                           Middelkoop Dairy, LLC
     (EIN) you have used in            Business name                                                   Business name
     the last 8 years
                                       Business name                                                   Business name
     Include trade names and
     doing business as names
                                       Business name                                                   Business name




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Debtor 1     Jan Dobben
Debtor 2     Carla L. Dobben                                                                  Case number (if known)

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                  –                                                           –
                                     EIN                                                          EIN
                                                  –                                                           –
                                     EIN                                                          EIN
5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                     1995 CR 2225
                                     Number       Street                                          Number      Street




                                     Detroit                         TX       75436
                                     City                            State    ZIP Code            City                           State    ZIP Code

                                     Red River
                                     County                                                       County

                                     If your mailing address is different from                    If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                     court will send any notices to you at this                   will send any notices to you at this mailing
                                     mailing address.                                             address.



                                     Number       Street                                          Number      Street


                                     P.O. Box                                                     P.O. Box


                                     City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing            Check one:                                                   Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this                   Over the last 180 days before filing this
                                             petition, I have lived in this district longer              petition, I have lived in this district longer
                                             than in any other district.                                 than in any other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Jan Dobben
Debtor 2     Carla L. Dobben                                                            Case number (if known)

8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                         court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                         pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                         behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                         Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                         than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                         fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                         Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                  No
     bankruptcy within the
     last 8 years?                       Yes.

                                    District                                               When                    Case number
                                                                                                  MM / DD / YYYY
                                    District                                               When                    Case number
                                                                                                  MM / DD / YYYY
                                    District                                               When                    Case number
                                                                                                  MM / DD / YYYY

10. Are any bankruptcy                   No
    cases pending or being
    filed by a spouse who is             Yes.
    not filing this case with
                                    Debtor Middelkoop Dairy, LLC                                       Relationship to you Company
    you, or by a business
    partner, or by an               District Eastern District of Texas                     When 04/21/2017         Case number, 17-50082-btr
    affiliate?                                                                                    MM / DD / YYYY   if known


                                    Debtor                                                             Relationship to you

                                    District                                               When                    Case number,
                                                                                                  MM / DD / YYYY   if known

11. Do you rent your                     No.      Go to line 12.
    residence?                           Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                              residence?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                       and file it with this bankruptcy petition.




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Debtor 1     Jan Dobben
Debtor 2     Carla L. Dobben                                                             Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                  Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                 Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                     City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                  Check the appropriate box to describe your business:
    to this petition.
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.     I am not filing under Chapter 11.

                                          No.     I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                  the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                       If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                Where is the property?
    a building that needs urgent                                             Number   Street
    repairs?



                                                                             City                                    State          ZIP Code




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Debtor 1     Jan Dobben
Debtor 2     Carla L. Dobben                                                               Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                            You must check one:
    have received             I received a briefing from an approved credit                  I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I                 counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                     certificate of completion.
                               Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                  I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I                 counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have              filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                   a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                  plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                   I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                      services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                   unable to obtain those services during the 7
                               days after I made my request, and exigent                      days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                         circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                     waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what           requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you               efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                  were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                                required you to file this case.

                               Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                      along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case              developed, if any. If you do not do so, your case
                               may be dismissed.                                              may be dismissed.

                               Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                  I am not required to receive a briefing about
                               credit counseling because of:                                  credit counseling because of:
                                    Incapacity.      I have a mental illness or a mental          Incapacity.    I have a mental illness or a mental
                                                     deficiency that makes me                                    deficiency that makes me
                                                     incapable of realizing or making                            incapable of realizing or making
                                                     rational decisions about finances.                          rational decisions about finances.
                                    Disability.      My physical disability causes me             Disability.    My physical disability causes me
                                                     to be unable to participate in a                            to be unable to participate in a
                                                     briefing in person, by phone, or                            briefing in person, by phone, or
                                                     through the internet, even after I                          through the internet, even after I
                                                     reasonably tried to do so.                                  reasonably tried to do so.
                                    Active duty. I am currently on active military                Active duty. I am currently on active military
                                                 duty in a military combat zone.                               duty in a military combat zone.
                               If you believe you are not required to receive a               If you believe you are not required to receive a
                               briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.




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Debtor 1     Jan Dobben
Debtor 2     Carla L. Dobben                                                             Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you       16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                   as "incurred by an individual primarily for a personal, family, or household purpose."
                                                  No. Go to line 16b.
                                                  Yes. Go to line 17.

                                    16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.

                                    16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                             No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after             Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                           No
    are paid that funds will be
                                                      Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                  1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                  50-99                            5,001-10,000                          50,001-100,000
    owe?                                   100-199                          10,001-25,000                         More than 100,000
                                           200-999

19. How much do you                        $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to                $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                              $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                        $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to           $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                    $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                             I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                    and correct.

                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                    or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                    proceed under Chapter 7.

                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                    fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                    I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                    connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                    or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                    X /s/ Jan Dobben                                            X /s/ Carla L. Dobben
                                       Jan Dobben, Debtor 1                                        Carla L. Dobben, Debtor 2

                                       Executed on 09/11/2017                                      Executed on 09/11/2017
                                                   MM / DD / YYYY                                              MM / DD / YYYY


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Debtor 1     Jan Dobben
Debtor 2     Carla L. Dobben                                                            Case number (if known)

For your attorney, if you are       I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                  eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                    relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by       the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need        certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                  is incorrect.



                                    X /s/ Joyce Lindauer                                                  Date 09/11/2017
                                       Signature of Attorney for Debtor                                        MM / DD / YYYY


                                       Joyce Lindauer
                                       Printed name
                                       Joyce W. Lindauer Attorney, PLLC
                                       Firm Name
                                       12720 Hillcrest Road, Suite 625
                                       Number          Street




                                       Dallas                                                     TX              75230
                                       City                                                       State           ZIP Code


                                       Contact phone (972) 503-4033                     Email address joyce@joycelindauer.com


                                       21555700                                                   TX
                                       Bar number                                                 State




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                    Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                                  $245       filing fee
                                                                           $75       administrative fee
     Your debts are primarily consumer debts.                       +      $15       trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                          $335       total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                    Chapter 7 is for individuals who have financial difficulty
                                                                    preventing them from paying their debts and who are
                                                                    willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                          pay their creditors. The primary purpose of filing under
to individuals                                                      chapter 7 is to have your debts discharged. The
                                                                    bankruptcy discharge relieves you after bankruptcy from
                                                                    having to pay many of your pre-bankruptcy debts.
                                                                    Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                    property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                    example, a creditor may have the right to foreclose a
                                                                    home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                    However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                    certain kinds of improper conduct described in the
                                                                    Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                              You should know that the even if you file chapter 7 and
                                                                    you receive a discharge, some debts are not discharged
                                                                    under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                    pay:
                  individuals with regular income
                                                                        most taxes;
You should have an attorney review your                                 most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                             domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                   page 1
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    most fines, penalties, forfeitures, and criminal                  for your state of residence and family size, depending
    restitution obligations; and                                      on the results of the Means Test, the U.S. trustee,
                                                                      bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy              dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                           Code. If a motion is filed, the court will decide if your
                                                                      case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:                   choose to proceed under another chapter of the
                                                                      Bankruptcy Code.
    fraud or theft;
                                                                      If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                      trustee may sell your property to pay your debts, subject
    capacity;
                                                                      to your right to exempt the property or a portion of the
                                                                      proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                      and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor              trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from               called exempt property. Exemptions may enable you to
    alcohol or drugs.                                                 keep your home, a car, clothing, and household items or
                                                                      to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have                 Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You                must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly                 Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing         property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine              proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                      Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                       $1,167       filing fee
122A-2).                                                                    $550       administrative fee
                                                                      +
If your income is above the median for your state, you must               $1,717       total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--                Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your                    is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to               11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                     page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                     Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                        repay your creditors all or part of the money that you owe
            or fishermen                                             them, usually using your future earnings. If the court
                                                                     approves your plan, the court will allow you to repay your
                                                                     debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                            depending on your income and other factors.
+        $75   administrative fee
                                                                     After you make all the payments under your plan, many
        $275   total fee
                                                                     of your debts are discharged. The debts that are not
                                                                     discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                     include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                             domestic support obligations,
                                                                          most student loans,
                                                                          certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                                debts for fraud or theft,
                                                                          debts for fraud or defalcation while acting in a
                                                                          fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                          most criminal fines and restitution obligations,
          $310    total fee
                                                                          certain debts that are not listed in your bankruptcy
                                                                          papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                          certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                          injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                          certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                      page 3
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                                                                    A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                                  called a joint case. If you file a joint case and each
                                                                    spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires                 bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about                 mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses             unless you file a statement with the court asking that
  and general financial condition. The court may                    each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                               Understand which services you could
                                                                    receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                    The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms                  counseling briefing from an approved credit counseling
  .html#procedure.                                                  agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                    case, both spouses must receive the briefing. With
                                                                    limited exceptions, you must receive it within the 180
                                                                    days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                      briefing is usually conducted by telephone or on the
consequences                                                        Internet.

    If you knowingly and fraudulently conceal assets or             In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of                 must complete a financial management instructional
    perjury--either orally or in writing--in connection with        course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or             filing a joint case, both spouses must complete the
    both.                                                           course.

                                                                    You can obtain the list of agencies approved to provide
    All information you supply in connection with a                 both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the               http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department              In Alabama and North Carolina, go to:
    of Justice.                                                     http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                    ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                             If you do not have access to a computer, the clerk of the
                                                                    bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                   page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF TEXAS
                                                                 TEXARKANA DIVISION
In re Jan Dobben                                                                                                                    Case No.
      Carla L. Dobben
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,335.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,335.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                     09/11/2017                        /s/ Joyce Lindauer
                        Date                           Joyce Lindauer                             Bar No. 21555700
                                                       Joyce W. Lindauer Attorney, PLLC
                                                       12720 Hillcrest Road, Suite 625
                                                       Dallas, TX 75230
                                                       Phone: (972) 503-4033 / Fax: (972) 503-4034




    /s/ Jan Dobben                                                    /s/ Carla L. Dobben
   Jan Dobben                                                        Carla L. Dobben
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                                      UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF TEXAS
                                             TEXARKANA DIVISION
  IN RE:   Jan Dobben                                                                  CASE NO
           Carla L. Dobben
                                                                                       CHAPTER       7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/11/2017                                              Signature    /s/ Jan Dobben
                                                                        Jan Dobben



Date 9/11/2017                                              Signature    /s/ Carla L. Dobben
                                                                        Carla L. Dobben
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                           AgPro
                           859 Airport Road
                           Paris, TX 75462



                           Alliance Bank
                           Attn: Jason Thompson
                           100 W. Jefferson Street
                           Sulphur Springs, TX 75482


                           Animal Health Center
                           4200 Clarksville Street
                           Paris, TX 75462



                           Bealls
                           c/o Commenity Bank
                           PO Box 182773
                           Columbus, OH 43218


                           Belk
                           c/o Synchrony Bank
                           PO Box 965060
                           Orlando, FL 32896


                           Big Country Farm Center
                           Attn: Shane Phifer
                           1800 17th NE
                           Paris, TX 75460


                           Blossom Hardware
                           PO Box 9
                           Blossom, TX 75416



                           Blossom Telephone
                           PO Box 8
                           Blossom, TX 75416



                           Capital One
                           PO Box 60599
                           City of Industry, CA 91716
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                           Carla Dobben
                           1995 CR 2225
                           Detroit, TX 75436



                           Citibank
                           PO Box 6077
                           Sioux Falls, SD 57117



                           City National Bank
                           Attn: Lance Looney
                           201 Conally Street
                           Sulphur Springs, TX 75482


                           CNH Productivity Plus Account
                           Dept 93-1105400935
                           PO Box 78004
                           Phoenix, AZ 85062


                           Commodity Specialist
                           4806 Solutions Center
                           Chicago, IL 60677



                           Commodity Specialist
                           Attn: Charlie Simon
                           211 Cinnabar
                           League City, TX 77573


                           Cooper Propane
                           PO Box 1153
                           Paris, TX 75461



                           Dairy Farmers of America
                           10220 N. Ambassador Drive
                           Kansas City, MO 64190



                           Dairy Health Services
                           3135 Texas Highway 11E
                           Sulphur Springs, TX 75482
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                           Dairy Supply
                           3135 Texas Highway 11E
                           Sulphur Springs, TX 75482



                           Diversified Financial
                           Attn: Carmen Warkenhast
                           1410 First National Bank Parkway
                           Omaha, NE 68154


                           DTN / The Progressive Farmer
                           9110 W. Dodge Road, Suite 3334
                           Omaha, NE 68114



                           El Dorado Chemicals
                           PO Box 973242
                           Dallas, TX 75397



                           Farm Country
                           Attn: Ricky Frasier
                           PO Box 484
                           Sulphur Springs, TX 75482


                           Feeders Supply
                           PO Box 792
                           Sulphur Springs, TX 75483



                           First Federal Community Bank
                           3010 NE Loop 286
                           Paris, TX 75460



                           Freerk de Jong
                           c/o Roland A. Mosher
                           The Mosher Justice Center
                           50 North Main
                           Paris, TX 75460

                           Guaranty Bank
                           PO Box 790408
                           St. Louis, MO 63179
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                           Highway 82 Welding
                           4687 Highway 82 E
                           Paris, TX 75462



                           Home Depot
                           PO Box 790328
                           St. Louis, MO 63179



                           I-B-A Dairy Supplies
                           PO Box 622
                           Sulphur Springs, TX 75483



                           JAK Fertilizer
                           PO Box 616
                           Blossom, TX 75416



                           James R. Rodgers
                           The Moore Law Firm, L.L.P.
                           100 North Main Street
                           Paris, TX 75460


                           Jan Dobben
                           1995 CR 2225
                           Detroit, TX 75436



                           JC Penny
                           c/o Synchrony Bank
                           PO Box 965060
                           Orlando, FL 32896


                           Joseph & Georgia Frankenberg
                           c/o James W. Litzler
                           Litzler Law Office
                           PO Box 1416
                           Sulphur Springs, TX 75483

                           Kubota Credit Corporation, U.S.A.
                           1000 Kubota Drive
                           Grapevine, TX 76051
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                           Lamar County Appraisal District
                           521 Bonham Street
                           Paris, TX 75460



                           Lamar County Electric
                           1485 N. Main Street
                           Paris, TX 75461



                           Lamar County Water Supply
                           PO Box 188
                           Brookston, TX 75421



                           Livestock Nutrition Center
                           500 Burlington Road
                           Saginaw, TX 76179



                           McCraw Oil
                           PO Box 220
                           Bonham, TX 75418



                           N.E. Texas Coop
                           428 North Jacksboro Highway
                           Sulphur Springs, TX 75483



                           Nationwide Insurance
                           PO Box 514540
                           Los Angeles, CA 90051



                           Paris Farm & Ranch
                           1710 NE Loop 286
                           Paris, TX 75460



                           Pest Protector Service
                           5932 Highway 154 S
                           Sulphur Springs, TX 75482
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                           R.J. VanBeek
                           3689 460th Street
                           Orange City, IA 51041



                           Red River Appraisal District
                           PO Box 461
                           Clarksville, TX 75426



                           Red River County Tax
                           200 N. Walonut Street
                           Clarksville, TX 75426



                           Richard Drake
                           6290 Highway 271 N
                           Powderly, TX 75473



                           Sam's
                           c/o Synchrony Bank
                           PO Box 965060
                           Orlando, FL 32896


                           Sanitation Solutions
                           PO Box 6190
                           Paris, TX 75461



                           Sears
                           PO Box 6282
                           Sioux Falls, SD 57117



                           Southern Milk Test
                           PO Box 380
                           Como, TX 75431



                           Sprint
                           PO Box 54977
                           Los Angeles, CA 90054
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                           Sunbelt Minerals
                           1276 FM 2560
                           Sulphur Springs, TX 75482



                           Tri County Construction
                           970 Texas Highway 375 S
                           Mt. Vernon, TX 75457



                           USDA - FSA
                           Attn: David Dunmon
                           2504 N. Center Street
                           Bonham, TX 75418


                           Walmart
                           c/o Synchrony Bank
                           PO Box 965060
                           Orlando, FL 32896


                           Wells Fargo Bank
                           PO Box 522
                           Des Moines, IA 50306



                           Wheeler Construction
                           59 CR 44105
                           Paris, TX 75462



                           William "Bill" Zahn
                           1605 Raintree
                           Sulphur Springs, TX 75482
